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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  JACKSON DIVISION

UNITED STATES OF AMERICA


v.                                                    CRIMINAL NO. 3:06cr86WHBJCS


EDWARD YOUNG

                                     ORDER OF DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of the Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby dismisses

Counts 1& 12 of the Indictment against EDWARD YOUNG, without prejudice.

                                                      DUNN LAMPTON
                                                      United States Attorney


                                              By:     s/Cynthia L. Eldridge
                                                      CYNTHIA L. ELDRIDGE
                                                      Assistant U.S. Attorney
                                                      MS Bar No. 9734

       Leave of Court is granted for the filing of the foregoing dismissal without prejudice.

       ORDERED this 8th day of February 2007.



                                              s/William H. Barbour, Jr.
                                              UNITED STATES DISTRICT JUDGE
